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Case 2:18-0V-O4775-l\/|SG Documentl Filed11/05/18 Pa

CIVIL C()VER SHEET

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local rules of court. This form, approved by the judicial Con erence cf the nited States in eptezni)er 1974, is required for the use of the lerk of Ccmt for the

Tlie JS 4§1\'11 cover sheet and the information contained herein neither re lace nor sup€}ement the filin and service of pieadings or other papers as re uired by law, except as

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Richard R. Cadmus Jr.

{b) County ofResiclence ofFirst i,isted P]aintiff Cii
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(C) Attomeys (Fi'rm Narnc, Addre.rs, amf Te.'epi'rone Numher}

Pro Se

 
   
 

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Christophet E. Brown. Roccc J. Dclecnardis. Deborah R. Whit_l ck,
Bruce A. .lones, Roben E_. Jcnes, Consurner Law, F'LE_ '

 

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Case 2:18-0V-O4775-l\/|SG Document 1 Filed 11/05/18 Page 2 ot 44

JS 44 Reverse (Rev. 06!17)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SI~IEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the tiiir\gs and service of pleading or other papers as
required by law, except as provided by iocal rules ofcourt. This for:n,_approved by thc Judicial Conference ofthe United States in September i974, is
required for the use ofthe Clerk of Court for the purpose ofinitiating the civil docket sheet Consequently, a civil cover sheet is submitted to the Clcrk of
Court for each civil complaint iiled. The attorney filing a case should complete the form as follows:

I.(a)

(b)

(c)

II.

III.

IV.

VI.

VII.

VIII.

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendantl If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an`official within a government agency, identify first the agency and
then the official, giving both name and title.

County of Rcsidence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. ln U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of tiling. (NO'I`E: ln land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land invoived.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record if there are several attorneys, list them on an attachment, noting
in this section "(Sec attachment)"_

Jurisdiction. The basis ofjurisciiction is set forth under Rule 8(€1), F.R.CV.P., which requires that jurisdictions be shown in pieadings. Place an "X"
in one of the boxes. if there is more than one basis of_jurisdietion, precedence is given in the order shown below.

United States plaintiff (l) ]urisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers ofthe United States are included here.
United States defendant (2) When the plaintiff is suing the United States, its officers or agencies, place art "X" in this box.

Federai question. (3) This refers to suits under 28 U.S.C. l33 i, where jurisdiction arises under the Constitution of thc United States, an amendment
to the Constitution, an act of Congress or a treaty ofthe United States. In cases where the U.S. is a party, the U.S. piaintiff or defendant code takes
precedence, and box 1 or 2 shouid be marked.

Divcrsity of citizenshipl {4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different statesl When Box 4 is checked, the
citizenship ofthe different parties must be checked. (See Section Iii beiow; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizcnship) ofPrincipal Pnrtics. 'fhis section of the JS 44 is to be completed if diversity of citizenship was indicated abovel Mark this
section for each principal party.

Naturc of Suit. Place an "X" in the appropriate box. lf there are multiple nature of suit codes associated with the case, pick the nature of suit code
that is most applicable Click here for: Nature of Suit Code Descriptions.

Origin. Piace an "X" in one ofthe seven boxes.

Original Proceedings. (l) Cascs which originate in the United States district courts.

l{emoved from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under 'I`itle 28 U.S.C., Section l44l.
When the petition for removal is grantcd, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Checic this box for cases reinstated or reopened in the district court. Usc the reopening date as the filing datc.
Transfcrred from Another District. {5) For cases transferred under Titie 28 U.S.C. Section l404(a). Do not use this for within district transfers or
multidistrict litigation transfersl

Multidistrict Litigation - 'i"ransfer. (6) Check this box when a muitidistrict case is transferred into the district under authority of"l`itie 28 U.S.C.
Section 1407.

Multidistrict Litigation f Dircct File. (8) Chcck this box when a multidistrict case is filed in the same district as the Master MDL docket
PLEASE NO'I`E THAT TI~IERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no icnger relevant due to
changes in statue.

Cause of Action. Repo:t the civil statute directly related to the cause of action and give a brief description ofthe cause. Do not cite jurisdictional
statutes unless diversity. Exampie: U.S. Civil Statute: 47 USC 553 Briechscription: Unauthorized reception ofcabie service

Requested in Colnplaint. Class Action. Place an "X" in this box ifyou are filing a class action under Rule 23, F.R.CV.P.
Dernand. in this space enter the actuai doliar amount being demanded or indicate other demand, such as a preiirninary injunction
Jury Demand. Check the appropriate box to indicate whether or not ajury is being demandedl

Reiated Cases. This section ofthe JS 44 is used to reference related pending cases, ifany. lfthere arc related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signaturc. Datc and sign the civil cover sheet.

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 3 of 44

3 Cj IN 'I`HE UNITED STATES DISTRICT COURT
im FOR THE EASTERN DISTR.ICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM
CIVIL ACTION

No. 18 Q'YFYS

ln accordance With the Civil iustice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shaii complete a Case Managernent Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants (See § l :03 of the plan set forth on the reverse
side of this forrn.) In the event that a defendant does not agree With the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Managcment Tracl< Designation Form specifying the track
to Which that defendant believes the ease should be assigned

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through § 225 5. ( )

(b) Sociai Security - Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Beneiits. ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos ( )

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the coutt. (See reverse side of this form for a detailed explanation of special

 

 

 

management cases.) (
(f) Standard Management - Cases that do not fall into any one of the other tracks. w
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Case 2:18-0\/- 04775- |\/|SG Document 1 FiledR11/05/18 Page 4 of 44

 

(, UN'ITED STATES DISTRICT
\!\% FOR THE EASTERN DISTRICT {}F I’ENNSYLVANlA 1 8 4 § l? 5
DESIGNATION FORM

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Case Nulnber: .ludge: Date Terminated:
Civil cases are deemed related when Yes is answered to any of the following questions:

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previously terminated action in this court?

NE/
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes E No/E/
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pending or within one year previously terminated action m this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes m
numbered case pending or within one year previously terminated action of this court?

 

4. Is this case a second or successive habeas corpus, ociai securi
case filed by the same individual?

  

appeal, or pro se civil rights Yes |:l

l certify that, to my knowledge, the within case is ." is ot related to any e now pending or within one year previously terminated action in

this court except as, noted above.
DATE:_//""c§ f /g _ .M

 

 

 

   
    
 

 

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l:l 4 Antitrust [:I \l. Marine Personal injury
§ 5 Patent ! . Motor Vehicle Personal injury
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g 9. Securities Act(s) Cases |:l 9. All other Diversity Cases
[:l 10. Social Security Review Ca.ses (Please specij)):
|:| ll. All other Federal Question Cases
(Please speci]j)):

 

 

 

ARBITRAT}ON CERTIFICATION
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l,`coi.msel of record or pro se plaintiff do hereby certifyt

Pu uant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
xceed the sum of $150,000.00 exclusive of interest and costs:

Relief other than monetary damages is sought

11 sue §

At!omey-at-Lmv / Pm Se low ' At!orney I.D. il (r]’appl'i'cabl'e)

 

NOTE: A trial de novo will he a trial by jury only if there has been compliance with F.R.C.P. 38.

 

 

 

Civ. 609 (5/20}3}

 

 

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 5 of 44

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT ()F PENNSYLVANIA
(Phi`fao'elphia Division)

RlCHARD R. CADMUS JR.,

Plai`nli`jf
v.

THE BROWN FIRM, PLLC.,

Serve: TMINSTlTUTE LLC
l09 S. Fairfax St.
Alexandria, Virginia,
22314

CRlSTOPl-IER E. BROWN,

Serve: lll()3 Dappled Grey WAY,
Upper Marlboro, Maryland,
20772

CONSUMER LAW, PLLC,
Serve: Business Filings Incorporated,
470] Cox Road, Suite 285

18 4“7'75

Gienn Allen, Virginia CIVIL ACTION NO.
23060
ROCCO J. DELEONARDIS, JURY TRIAL DEMANDED

Serve: 510 6‘h St. NE
Washington, DC 20002

DEBORAH R. WHITLOCK,
Serve: 60 Lucille LN
Toccoa, GA 30577

ROBERT L. JONES,
Serve: 108 Clearwater CT,
Stephens City, VA 22655

BRUCE A. JONES,
Serve: 108 Clearwater CT,
Stephens City, VA 22655

VV\-/\./\-./\_,/\_/\_/\_/\_/\_/\._/\_/\_/\_/\_/\_,J\_./\_/\_J\_/\../\-./\»/\_/\-/\_/\_._/\_/\_/\_/\-./\-/\_/\_/\,/\_./\_/\JV

Defendams.

 

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 6 of 44

TABLE OF CONTENTS

COMPLAINT .............................................................................................................................................. 4
NATURE OF THE CASE ........................................................................................................................... 4
PARTIES ..................................................................................................................................................... 5
JURISDICTION .......................................................................................................................................... 7
VENUE ....................................................................................................................................................... 7
FACTUAL ALLEGATIONS ................................................................................................................... 7
“.lurisdictional Facts” ................................................................................................. 7

“The J ones Case” ........................................................................................................ 9

iones Billing ......................................................................................................... 12

“The Minifield Case” ................................................................................................. 12

“Attorney l” ......................................................................................................... 12

“Attorney 2” ......................................................................................................... 13

“Attorney 3” ......................................................................................................... 14

“Attorney 4” ......................................................................................................... 15

“Minifield Billing” ............................................................................................... 20

COUN'I`S ................................................................................................................................................... 2l
FIRST CLAIM FOR RELIEF ................................................................................... 21

“Breach of Contract” ........................................................................................ 21

SECOND CLAIM FOR RELIEF .............................................................................. 22

“Breach of Co'ntract” ........................................................................................ 22

THlRD CLAI]\/I POR RELIEF .................................................................................. 23

“Breach of implied in Fact Coiitract” .................................................................. 23

FOURTH CLAIM FOR RELIEF ....................................................... 25

“Breach of Irnplied in Fact Contract” .................................................................. 25

FIFTH CLAIM FOR RELIEF ................................................................................... 26
“l\/Iisrepresentation” ............................................................................... - .............. 26

SIXTH CLAIM FOR RELIEF ................................................................................... 26

2

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 7 of 44

“Praud in the Indueernerit” ................................................................................... 26
SEVENTH CLAIM FOR RELIEF ............................................................................ 27
“Gauranty and Coobligor” ................................................................................... 27
EIGHTH CLAIM FOR RELIEF ............................................................................... 27
“Disregard Prot`essional Limited Liability Company Entities” ........................... 27
NINTH CLAIM FOR RELIEF .................................................................................. 28
“Breach of Irnplied Covenant of Good Faith and Fair Dealing” ......................... 28
TENTH CLAil\/l FOR RELIEF ............................................................................... 29
“Breach of Fiduciary Duty and Aiding and Abetting Breach” ....................... 29
ELEVENTH CLAil\/l FOR RELIEF ....................................................................... 32
“Unjust Enrichment” ............................................................................................ 32
TWELVTH CLAIM FOR RELIEF ............................................... , ......................... 32

“Tortious Interfei'ence” (Against Brown and Whitlocl<) 32

THIRTEENTH CLAII\/I FOR RELIEF .................................................................. 35
“Defaination” ....................................................................................................... 35
FOURTEENTH CLAIM FOR RELIEF ................................................................. 36

“Civil Conspiraey” ............................................................................................... 36

FIFTEENTH CLAIM FOR RELIEF ...................................................................... 37
“Preliminary and Permanent injunctive Reliel” ............................................... 37
SIXTEENTH CLAll\/i FOR RELIEF ..................................................................... 38
“Negligence” ....................................................................................................... 38

PRAYER FOR RELIEF ............................................................................................................................ 39

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 8 of 44

COMPLAINT

Plaintiff Richard R. Cadmus Jr. ("Plaintiff‘ or “Cadmus"), files this Complaint
against Christopher E. Brown, Esq., Rocco Deleonardis, chorah R. Whitlock, The Brown
Firm, PLLC, Consurner Law, PLLC, counsel, and alleges the following:

NATURE OF THE CASE

1. This controversy surrounds unpaid biiling invoices and/or the non-payment for
litigation support, paralegal and other work and/or services provided to three (3) attorneys including
Defendants Attorney Christopher E. Brown, Esq., Attorney Deborah R. Whitlocl<, Esq. and
(disbarred) Attorney Rocco J. Deleonardis in support of two high profile police homicides which
occurred in Winchester, Virginia and Martinsburg, West Virginia respectively (hereinafter “the
Minifield Case” and “the Jones Case”). ln both -~~ local white/Caucasian police officers chased
down, shot and killed unarmed African American males who ran from police officers from behind.

2. Richard R. Cadmus Jr. (liereinafter “Plaintifi” or “Cadmus”) alleges the captioned
Attorney Defendants conspired to Withhold payment after litigation support and paralegal services
were rendered to them and benefits were received by them; as well as the captioned Defendants
tortuously interfered with Plaintiffs business expectancy; and breached their fiduciary obligation
among other things toward Plaintiff.

3. Further, Plainitiff alleges Defendants committed defamation and defamation per se
and conspiracy to commit defamation and conspiracy to commit tortious interference by Attorney

Christopher E. Brovvn, Esq. and Attorney Deborah R. Whitlocl<, Esq.

 

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 9 of 44

PARTIES

4. Plaintiff Richard R. Cadmus Jr. maintains domiciliary in Philadelphia,
Pennsylvania. He is a freelance federal litigation paralegal who, at all related times herein,
provided project based paralegal services throughout the United States to licensed
attorneys Cadmus never graduated from an ABA accredited law school and he has not

l passed any state bar exam in the contiguous states or elsewhere

13. At all related times herein, Defendant THE BROWN FIRM, PLLC
(hereinafter “Brovvn Firm”) is a professional limited liability company organized and
existing under the laws of Virginia with a principal place of business in Alexandria,
Virginia. Christopher E. Brown is the principle share holder and sole member and manager
of said professional limited liability company Which is located and conducts business at 526
King St. Suite 207, Alexandria VA 22314.

5. Brown Firm is also vicariously liable for the complained of breach of
contract, negligence and/or intentional tortious conduct committed by Christopher E.

Brown.
6. At all relevant times herein, Defendant Christopher E. Brown was an attorney
authorized to practice law in the Comrnonwealth of Virginia and the District of Columbia. Brown

maintains domiciliary in the state Mar'yland.

14. At all related times herein, Defendant CONSUMER LAW, PLLC (hereafter
“Consumer Law”) is a professional limited liability company organized and existing under the laws
of Virginia with a principal place of business in Reston, Virginia. Rocco J. Deleonardis is the
principle share holder and sole member manager of said company which is located and conducts

business at 11480 Sunset Hilis Rd, Reston VA 20190.
5

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 10 of 44

7. Consumer Law is also vicariously liable for the complained breach of contract,
negligence, and/or intentional tortious conduct committed by Deleonardis.

8. At ali related times herein, Defendant Rocco J. Deleonardis (“Defendant” or
“Deleonardis”) is an attorney who was authorized to practice law in the Commonweaith of Virginia '
from May 9, 1996 to February i9, 20l6. On information and belief, the Virginia State Bar
suspended Deieonardis’ authorization to practice law in Virginia for a period of no less than four

(4) years to which said suspension will cease on February 19, 2020.

9. At all related times herein, Defendant Deborah R. Whitlock (“Defendant” or
“Whitlock”) maintains domiciliary in the state of Georgia where she is authorized to practice
iaw; and is admitted pro hac vice to practice law in the case styled as Civil Action No.
5:l7cv00043 - Jacqueli'ne Minjield~Brown v. Cin of Wz'nchester et al., presently being
litigated in the United States District Court for the Western District of Virginia in
Harriscnburg. On information and belief, Whitloci< is a sole practitioner who operates her
practice under the name assumed name of The Law Offices of Deborah R. Whitiock.

lO. At all related times herein, Defendants Robert L Jones and Bruce A. Jones
(hereinafter “Defendants” or “the J ones Estate” or “R.Jones” or B.Jones” or “Jones Case”) were co-
administrators and the personal representatives for the Estate of Wayne A. Jones. R.Jones and
B.Jones reside in and maintain domiciliary in Stephens City located in Prederici< County, Virginia.

ll. At all related times herein, R..lones and B.Jones filed application and were duly
qualified as the Personal Representatives and Co-Adrninistrators of the Estate of Wayne A. Jones

by the Oflice of Fiduciary Supervisor for Berkeley County, WV located at 100 West King St., Suite

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 11 of 44

12, l\/lartinsburg, West Virginia 2540l.
.}URISI)ICTI()N

12. The amount in controversy exceeds $75,000.00, exclusive of interest and costs, and
there is complete diversity of citizenship between all parties. Accordingly, this Court has
jurisdiction pursuant to 28 U.S.C. § l332(a)(2).

VENUE

13. Venue is proper pursuant to 28 U.S.C. §l39l(a), § l39l(c) and § l39l(d).

l4. At all related times herein, Defendants purposefully and personally availed themselves
to the jurisdiction of the Commonwealth of Pennsylvania by transacting business and/or causing
tortious injury against and toward Plaintiff while he engaged in business transactions with
Defendants from Philadelphia, Pennsylvania.

15. Defendants knew Plaintiff was a freelance litigation paralegal who provided litigation
support and business services remotely out of the city of Philadelphia, Pennsyivania. Defendants
reached out and engaged his services and intentionally conducted various business transactions with
Plaintiff knowing he was permanently located in the Commonwealth of Pennsylvania.

FACTUAL ALLEGATIONS
“.}urisdictional Facts”
15. Plaintiff is a freelance federal litigation paralegal who provides remote litigation
support and paralegal services to attorneys throughout the United States.
16. Further, attorneys contact Plaintiff via email, text and cell phone to provide
Plaintiff with instructions, requests and engage him for litigation support as well as coordinate
billing and payment from the Commonwealth of Pennsylvania.

l7. At all times herein, Defendants knew Plaintiff conducted business from the
7

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 12 of 44

Commonwealth of Pennsylvania.

18. Defendants electronically forwarded legal documents to Plaintiff while he worked
from the Commonwealth of Pennsylvania for Defendants.

19. Defendants directed, instructed, or otherwise supervised Plaintiff while he worked
from the Commonwealth of Pennsylvania.

20. Pennsylvania’s long arm statute confers jurisdiction over Defendants because they
purposefully and knowingly conducted and/or solicited business transactions from Piaintiff
who was'located and doing business within the Commonwealth of Pennsylvania.

21. Defendants intentionally reached out via phone, text, email and other means to
communicate with Plaintiff about litigation matters, cases and support services

22. Specifically, defendants requested legal work product, billing invoices, amounts,
contractual paperwork and discovery documents among other things.

23. The character and quality of the contacts between Plaintiff and the captioned
Defendants does not offend traditional notions of fair play and substantial justice

24. Further, Defendants purposefully availed themselves of the laws of and/or privilege
of conducting activities in the Commonwealth of Pennsylvania by doing business with
Plaintiff.

25. After Defendants breached their agreement to pay Plaintiff for the completed
paralegal services; the captioned Defendants conspired and confederated with one another to
tortuously interfere with Plaintiff’s business expectancy and commit defamation by slandering
Plaintifl’s good name among other malicious intentional torts. Therefore, no surprise exists
here and Defendants should have reasonably anticipated being haled into the United States

District Court for the Eastern District of Pennsylvania.

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 13 of 44

“The Jones Case”

26. Initially, Plaintiff was hired by Defendants Attorney Deleonardis and Attorney
Brown in October 2014 to provide investigative support, complex litigation supportl, complex
appellate litigation support and other paralegal services including case management pertaining
to the .l ones Case among other things

27. Plaintiff”s hourly rate for his services is One-Hundred Fifty ($lS0.00) Dollars per hour.

28. Deleonardis and Brown directed Plaintiff to qualify as the Power of
Attorney(“POA”) for Bruce Jones and Robert J ones

29. Deleonardis and Brown directed Plaintiff to sign the representation letter agreement
on behalf of the Estate of Wayne A. Jones in order for Defendants to become legal counsel for
the Estate.

30. The representation letter agreement explicitly stated Plaintiff was providing
paralegal services and litigation support to Defendants

31. Plaintiff and Defendants agreed the rate for paralegal services and litigation support
in the Jones Case was to be One~Hundred Fifty ($150.00) Dollar per hour.

32. At all related times herein, Attorney Brown’s representation agreements indicated
federal paralegals utilized would be compensated at One-Hundred Fifty ($150.00) per Hour.

33. At all related times herein, Deleonardis and Brown agreed to pay Plaintiff 0ne-

Hundred ($l50.00) Dollars per Hour for litigation support and paralegal service work performed

by Plaintiff on the Jones Case.

34. Plaintiff provided litigation support, paralegal and investigative services on the

 

1 Litigation Support means providing the following: i.) legal research, legal writing, utilizing
professional research and writing tools such as West Law, Case Map, Text Map and Lexis Nexl`s
among others; ii.) legal analysis of facts, issues and the law; iii.) factual analysis of case reports, files,
metrics and other evidentiary work product; iv.) legal communications/correspondence/emails/lettersf
and various other paralegal administrative support tasks

 

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 14 of 44

Jones Case from 2014 through 2017 (i.e., off and on for two (2) years) to Deleonardis and Brown.

35. At the direction of Defendants, Plaintiff, inter alia, conducted the legal research,
analysis and drafted the final work product known as the opening brief and generated the joint
appendix for the Estate of Wayne A. .l ones Appeal to the Fourth Circuit which was filed in March
2015.

36. Deleonardis and/or Brown analyzed, corrected and reviewed all appellate filings
prior to affixing their respective names to the signature block of all appellate briefs

37. Deleonardis and Brown regularly supervised, reviewed, relied on; and filed
Plaintiff’s work product throughout the Jones Case (i.e., “appeal”).

38. Plaintiff was directed by Deleonardis and Brown to interface with the clients as a
liaison on behalf of the lawyers voluminous times over several years

39. Plaintiff traveled extensively and repeatedly to Reston, Virginia and Alexandria,
Virginia to attend meetings at the direction and approval of Deleonardis and Brown from year
2014 through year 2016.

40. Prior to oral argument at the Fourth Circuit Court of Appeals in 2016, Defendant
Deleonardis Was suspended by the Virginia State Bar from practicing law for a period no less
than four (4) years and Brown assumed the role of lead counsel in the Jones Case thereafter.

41. Brown continued to work with, direct and supervise Plaintiff. lndeed, he requested
litigation support and utilized Plaintiff’s work product generated under his request and
supervision

42. Brown repeatedly affixed his signature to legal work product produced and

forwarded to him after review, analysis and corrections

10

 

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 15 of 44

43. During oral argument in mid-2016 in the Fourth Circuit Court of Appeals in
Richrnond, Virginia, the Court remanded the case back to the Northern District of West Virginia
for further proceedings based substantially on Plaintiff s research, analysis, writing and litigation
support provided to Attomey Brown and Deleonardis.

44. Brown directed Plaintiff to provide further litigation support to Deleonardis (now
suspended), after the appeal was remanded; to do more legal research and focused writing on
narrow dispositive issues which the district court was ordered to review by the Fourth Circuit.

45. Plaintiff refused to work with Deleonardis from there on due to the serious bar
inquiry issues which loomed over his law practice and because Deleonardis did not command a
good understanding of the procedural and substantive facts and circumstances surrounding the
Jones Case. (i.e., Deleonardis was a transactional title attorney with little to no civil rights or
federal litigation experience)

46. Deleonardis erroneously briefed the issues for Brown which caused ultimately lead
to and caused the district court to dismiss the Jones Case (i.e., the second time) with prejudice in
20l6.

47. Afterward, Brown again reached out and relied on Plaintiff to provide appellate
research, analysis and litigation support after the second dismissal from the district court.

48. Plaintiff agreed to perform the work under the same arrangement and billing as
was previously in place regarding the case.

49. The Fourth Circuit remanded the case [again] for further proceedings in the United

States District Court for the Northern District of West Virginia in l\/lartinsburg, WV.

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Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 16 of 44

Jones Billing

50. In January 2015, Plaintiff submitted itemized invoices for immediate payment to
Deleonardis and Brown in the amount of $24,652.50 on the Jones Case.

51. In March 2015, Plaintiff submitted itemized invoices for immediate payment to
Deleonardis and Brown in the amount of $30,020.95 on the Jones Case.

52. ln June 2016, Plaintiff submitted itemized invoices for immediate payment to
Deleonardis and Brown in the amount of $22,352.55 on the J ones Case.

53. In July 2018, Plaintiff submitted sourced and detailed billing invoices supra and
the final billing invoice for immediate payment to Brown in the amount of $20,006.25 for the
Jones Case.

54, In May 2018, the City of Martinsburg(“City”) made an offer of judgment to the
Estate of Wayne A. Jones for One-l\llillion ($1,000,000.00) Dollars plus the City defendants
agreed to pay all attorney’s fees and costs accumulated in the case.

55. Attorney Brown requested updated billing from Plaintiff in July 2018 which he
was provided via email.

56. Deleonardis and Brown breached the agreement with Plaintiff and intentionally
failed and refused to remit payment for litigation support and investigative/paralegal services that
were completed in good faith by Plaintiff on behalf of Consumer Law, The Brown Firm, Rocco J.
Deleonardis and Christopher E. Brown, Esq.

Minif"ield Case
‘Sdttorney 1”

57. Plaintiff was procured by Brown to provide litigation support and

paralegal/investigative services to Brown in March 2016 after D’Londre l\/linifield was allegedly

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Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 17 of 44

shot and killed by a Winchester Police Department police officer in Winchester, Virginia

58. At the direction of Brown, Plaintiff went to the scene took pictures, met with the
family of Minifield, conducted site investigations generated FOlA requests and worked with
Chuck Feldbush a twenty~seven year retired law enforcement detective from Prince William
Police Department.

59. As a result, Jacqueline Brown-Minifield signed a representation letter agreement
with Brown Firm for legal and investigative work only in contemplation of filing a lawsuit
against the City of Winchester and numerous police officers Brown directed l\/linifield to apply
Ten Thousand ($10,000.00) Dollars as retainer for his necessary costs and services

60. The agreement letter expressly stated litigation support and paralegal services were
One~Hundred Fifty (3150.00) per hour.

61 . Administrator Jacqueline Minifield-Brown did not remit payment to Brown for the
'I`en Thousand ($10,000.00) Dollars

62. At the direction of Brown, Plaintiff conducted legal research and writing including
producing a proposed initial complaint which Brown reviewed, corrected and signed.

6?i. Plaintiff subsequently attached the pleading to Brown’s Notice of Claim to the
City of Winchester and mailed the documents to the City Attorney for the City of Winchester at
the explicit direction of Christopher E. Brown in October2016.

64. The Administrator terminated Attorney Brown’s legal representation prior to the
Minifield lawsuit ever being filed on or around January of 2017.

“Attorney 2”

65. l\/linifield-Brown engaged another attorney Bradley G. Pollack, Esq. (hereinafter

l3

 

 

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 18 of 44

“Attorney Pollack” or “Pollack”) in February 20l7.

66. Attorney Poilack and Minitield-Brown, both, signed an engagement letter during
the meeting and entered into a client~attorney relationship.

67. Pollack requested Plaintiff provide him with legal assistance including legai
research, analysis, writing and ultimateiy, Plaintiff drafted the legal work product now known as
the “Original Complaint” which was filed in Civil Action No. 5:l7cv00043 in May 201'7 and now
pending litigation in the Western District of Virginia.

68. Pollack affixed his signature to the Origina] Complaint and utilized his own
Cl\/l/ECF account to tile it in the United States District Court for the Western District of Virginia.

69. The City of Winchester ANSWERED said Original Complaint.

70. Plaintiff provided very little if any litigation support to Pollack, otherwise, from
February 2017 through September 20i7.

71. Poliack withdrew from the Miniiield Case in Septernber 2017. l

“Attorney 3”

72. Attorney Roger Roots made an appearance, pro hac vice, on behalf of Jacqueline
Minitield-Brown in October of 2017 and agreed to take over the case.

73. Plaintiff knew and worked with Roots in Las Vegas Nevada during the Cliven
Bundy Standoff Trials in the District of Nevada. Roots was counsel for Cliven Bundy and
Plaintiff provided litigation support to Roots during the year-long complex-severed federal
criminal trial and ongoing civil trespass litigation

74. Plaintiff recommended Miniiield-Brown reach out to Attorney Roots regarding

becoming the attorney of record for the Estate of D’Londre Minitield which she did.

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Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 19 of 44

75. Roots and Minifield-Brown entered into a client-attorney representation agreement
in October 2017 who appeared pro hac vice in the l\/linifield Case.

76. At the direction of Roots, Plaintiff organized all discovery and worked closely
With Roots to draft the First, Second and Third Amended Complaints.

77. All three (3) Amended complaints were essentially the same except for misnomers
related to defendants and several syntax errors.

78, The district court granted all three amendments filed by Attorney Roots.

79. Opposing counsel failed to tile any opposition responses to the Estate’s motions
for leave to amend; nor did they tile objections to the amendments which were granted by the
district court.

80. Due to underhanded tactics of opposing counsel throughout discovery, Attorney
Roots became frustrated and sought to withdraw from the case and substituted out of the case
with another attorney.

“Attorney 4”

Sl. Minifield-Brown reached out to Attorney Deborah R. Whitlock, Esq. in l\/larch of
20l8 seeking counsel to litigate her civil rights case against the City of Winchester after Attorney
Roots sought to leave the case.

82. Whitlock reached out to Plaintiff about the posture of the case and his level of
involvement in various phone and email correspondences.

83. Plaintiff also expressly desired to leave the case and/or provide minimal assistance
due to the posture of the case and his mother’s wrongful death suit which was soon to be filed

84. Whitlock urged Plaintiff to remain and provide assistance to her (i.e., if she were

l5

 

 

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 20 of 44

accept the Minifield Case)

85. Whitlock and Plaintiff expressly discussed and agreed to his rate of One~Hundred
Fifty ($lS0.00) per hour for all work provided

86. Whitlock also agreed to compensate Plaintiff for the litigation support provided to
the previous attorneys in the Minitield Case.

87. At the direction of Whitlock, Plaintiff provided legal research, analysis and
suggestions for amending the “Roots” complaint because information was discovered that was
not previously known. Whitlock reviewed the issues and the previous complaints and directed
Plaintiff to provide her with the necessary amendments previously proffered to her during
discussions with sources.

88. Plaintiff completed the work product and submitted it to Whitlock for her review
and approval m however, her father and nephew were tragically. run over and killed by a UPS
Semi-Truck on the interstate while standing in the emergency lane.

89. Plaintiff and local counsel Attorney Dave Johnson worked together to provide
litigation support, discovery analysis and investigative services on behalf of Attorney Whitlock as
She took immediate absence from law practice to attend to her family and the deaths of her loved
ones..

90. After a two (2) week hiatus, Whitlock directed Plaintiff to assist her with responses
in opposition to Defendant’s lZ(b)(6) Motions. She also hired her ex~husband, a disbarred
attorney from the state of Georgia to provide legal services on the Minifield Case, also.

9l. Attorney Whitlock directed Plaintiff to conduct extensive legal research, perform

legal analysis related to dispositive issues the Estate Was faced with among other litigation

16

 

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 21 of 44

support tasks at Whitlock’s request and under her supervision.

92. Plaintiff forwarded all litigation work product to Attorney Whitlock for her review.
She reviewed it, made her corrections (if necessary) and affixed her signature and/or made
corrections and forwarded approval for Plaintiff to file with Whitlock’s signature affixed thereto.

93. Attorney Whitlock directed Plaintiff to meet with her and prepare for a July 5,
2018 Motions Hearing in Roanoke, Virginia before the Honorable Michael Urbanski in the U.S.
District Court for the Western District of Virginia.

94. During the meetings,_ Plaintiff realized Attorney Whitlock did not have
commanding knowledge of the facts, circumstances and legal issues which surrounded the
Minifield Case and that she was severely affected by the death of her father and nephew.

95. She could not name the defendants in the Minifield Case.

96. She could not identify the individual defendants’ complained of conduct during
face to face meetings

97. She further admitted she did not understand the procedural and substantive issues
which were at controversy for the July 5 , 2018 Motions Hearing.

98. Attorney Whitlock was unaware of the directions the defendants traveled toward
the crime scene; which defendants chased the victim to the fence; the names of the eye~witnesses
who observed the incidents leading up to the cause for which the case was sued out in federal
court.

99. Attorney Whitlock had not analyzed the 9-l-l Audio Recording of the incidentl

100. Attorney Whitlock admitted she was not prepared.

lOl. In damage control, Plaintiff suggested reaching out to Attorney Chris Brown (i.e.

17

 

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 22 of 44

as a temporary fix until Whitlock fully recovered from her emotional distress and incompetence
related to the case) to assist Whitlock in the upcoming July 5, 2018 Hearing on Defendants
dispositive motions

102. Attorney Whitlock scheduled a meeting with Attorney Brown on the same day she
was scheduled to fly out of Washington D.C. to go back to Georgia in June 2018.

103. At all times during Whitlock’s meeting with Brown, Plaintiff was in Philadelphia,
Pennsylvania.

104. During the meeting, Attorney Whitlock and Attorney Brown discussed Plaintiffs’
lack of remuneration (i.e. how Plaintiff had not been paid for the litigation support he performed
in the Jones Case and the Minifield Case and what to do about it)

105. Attorney Whitlock agreed with Brown through discussions in that meeting at 526
King St. Alexandria, Va. to essentially wipe out the labor costs of Plaintiff by turning the
]\/linifield Case over to Attorney Brown who had already failed to pay for work completed in the
Jones Case.

106. Defendants concocted a scheme to offer Plaintiff a reduced payment for his
litigation support and paralegal services in the Jones Case - and disregard all litigation support
previously provided to Defendants in the Minifield Case.

107. in June 2018, Plaintiff willingly and kindly turned over all case file information
and work product to Attorney Brown at the direction of Attorney Whitlock.

108. Plaintiff turned over Lexis Case Map file, PDF Document Reports, Spreadsheets, -
Analysis briefs, Notes, Site Images, Maps, Diagrams, Schematics among other legal work

product generated throughout the case and/or for Attorney Whitlock and partially utilized by

18

 

Case 2:18-cv-O4775-|\/|SG Document 1 Filed 11/05/18 Page 23 of 44

Attorney Brown inside the Fourth Amended Complaint(“¢l/’l€”)2 filed in the Minifield Case at
Whitlock’s direction.

109. As Attorney Whitlock traveled to the airport after the meeting with Attorney
Brown, Whitlock called Plaintiff via cell phone and divulged that she “gave the case to Chris
Brown” and said Brown was going to now “take care” of Plaintiff.

llO. Attorney Whitlock surreptitiously negotiated a deal for Attorney Brown to pay
Plaintiff One-Hundred ($100,000.00) Dollars in lieu of Plaintiff's previously unpaid litigation
support on the Jones Case and not pay Plaintiff for any of the litigation support in the Minifield
Case.

ll l. At no time was Attorney Whitlock involved in or provided legal representation to
the Estate of Wayne A. Jones,

l 12. At no time did Plaintiff provide any litigation support to Attorney Whitlock while
he provided litigation support and paralegal services to Deleonardis and Brown while working on
the Jones Case.

llB. Thereafter, Plaintiff refused to work with Chris Brown on the Minifield Case'
because he the Jones Case work completed remained unpaid by Deleonardis and Brown.

ll4. As a result, Plaintiff was induced to end the working relationship with Attorney
Whitlock.

ll5. Brown did not pay Plaintiff for any of the work completed and turned over to him
at Whitlock’s instructions by Plaintiff.

116. When Plaintiff demanded payment from Brown, he essentially communicated

 

2

The liAC filed by Brown was materially altered and most counts and defendants were eventually voluntarily dismissed

based on Brown’s own legal work productl

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Case 2:18-cv-O4775-|\/|SG Document 1 Filed 11/05/18 Page 24 of 44

Plaintiff would have to seek any payment from the Administrators of the Estate of Wayne A.
Jones and the Administrator of the Estate of D’Londre Minifield instead.

117. Deleonardis also failed and refused to pay Plaintiff"s invoices for legal work and
litigation support Deleonardis directed, utilized and benefited from in the furtherance of two (2)
Fourth Circuit appeals which were reversed and remanded in the Jones Case.

“Minifield Billing”

118. Plaintiff billed Attorney Whitlock, specifically, for one-thousand one hundred
twenty (1120) Hours of litigation support, paralegal and investigative services from March 2016
to June of 201 8 on the Minifield Case at One~Hundred Fifty ($150.00) Dollars per hour.

119. Via text message in August 2018, Whitlock communicated she was “broke” and
could not pay Plaintiff for the litigation support provided to her; and she now refused to pay
Plaintiff pursuant to the agreement Plaintiff had with Whitlock.

120. Whitlock further communicated she would only pay [if`] she received a settlement
or judgement award as though Plaintiff was an attorney working on a contingency agreement
which he was not.

121. Attorney Whitlock knew Plaintiff was not an attorney and therefore not able to be
treated like one for payment of litigation costs of the case.

122. At all times herein, Plaintiff never agreed to any contingency agreement with the
captioned Defendants.

123. Whitlock further knew and agreed to Plaintiff’ s hourly rate.

124. She further directed Plaintiff to conduct substantial litigation support and provide

her with extensive legal research, documents and time sensitive work product which she

20

Case 2:18-cv-O4775-|\/|SG Document 1 Filed 11/05/18 Page 25 of 44

reviewed, altered, relied on and filed during the course of litigation.

l25. Defendants have been benefited and enriched by Plaintiffs litigation support
provided in the Jones Case and the Minifield Case.

126. Defendants have failed and refused to remit payment for work performed in bad
faith.

127. Only after Plaintiff threatened litigation for “non-payment” of his invoices for the
litigation support and paralegal services, did Defendants begin to besmirch him and his paralegal

services publicly.

COUNTS

FIRST CLAIM FOR RELIEF
“Breach of Contract”
(Against Deleonardis, Brown, Whitlock,
Consumer Law, PLLC, The Brown Firrn, PLLC)

128. All allegations set forth above not inconsistent with the remaining allegations
of this First Claim for Relief are hereby realleged and incorporated herein by reference as if
fully set forth herein.

129. Defendant Deleonardis, Brown, Whitlock, Consumer Law and Brown Firm
solicited Plaintiff to provide litigation support and paralegal services in the Jones Case and
Minifield Case and failed to pay.

130. Defendants owe Plaintiff the sum of $311,250.00 for unpaid balances related to
litigation support, paralegal services and associated costs provided to them from 2014 through

2018 in the Jones Case and Minifield Case.

21

Case 2:18-cv-O4775-|\/|SG Document 1 Filed 11/05/18 Page 26 of 44

SECOND CLAIM FOR RELIEF
“Breach of Contract”
(Against R. J ones and B. Jones)

131. All allegations set forth above not inconsistent with the remaining allegations
of this Second Claim for Relief are hereby realleged and incorporated herein by reference as
if fully set forth herein.

132. Defendant Robert Jones and Bruce Jones, individually, and as the personal l
representatives and co-administrators for the Estate of Wayne A. Jones requested Plaintiff be their
communication medium between Defendants Deleonardis and Brown.

133. Plaintiff was the duly authorized attorney-in~fact for the Estate of Wayne A. Jones,
Robert Jones and Bruce Jones from October 2014 through l\/larch 2015.

134. Robert L. Jones terminated the attorney in fact agreement between the
Administrators and Plaintiff in March of 2015.

135. Defendants agreed to remit payment for Seventy-Five ($75.00) Dollars per hour
for services provided by Plaintiff including public relations and other non-legal activities
including but not limited supporting the Estate in interviews, articles, internet social media
content and conducting other tasks as directed by the administrators.

136. Plaintiff provided approximately Two~Hundred (200) Hours of focused “attorney-
-in-fact” support specifically to Robert Jones and Bruce Jones from October 2014 through March
2016.

137. Defendants have received Plaintiff’s itemized billing invoices and failed and

refused to pay Plaintiff for the services provided to them.

22

 

Case 2:18-cv-O4775-|\/|SG Document 1 Filed 11/05/18 Page 27 of 44

THIRD CLAIM FOR RELIEF
“Breach of Implied in Fact Contract”
(Against Deleonardis, Brown, Whitlock
Consumer Law, PLLC and The Brown Firm, PLLC,
Bruce A. Jones and Robert L Jones)

138. All allegations set forth above not inconsistent with the remaining
allegations of this Third Claim for Relief are hereby realleged and incorporated herein by
reference as if fully set forth herein.

139. To the extent an express contract was not formed, or to the extent a portion of
the amounts claimed due were not covered under that express contract, an implied in fact contract
was formed pursuant to the agreements described above.

140. The conduct of Defendants manifests that they agreed to a contract whereby
Defendants agreed to provide legal representation to the personal representatives for the Estate of
Wayne A. Jones (i.e., Attorneys Deleonardis and Brown) and/or the personal representative for
the Estate of D’Londre Minifield (i.e., Attorneys Whitlock and Brown) and the Estates agreed to
pay the Attorneys’ reasonable expenses and costs to litigate their lawsuits.

l4l. Given the circumstances, Plaintiff was justified in believing and relying on
Attorney Defendants expressed intentions as counsel for the respective Estates to pay Plaintiff for
litigation support, paralegal, investigative and administrative services and costs rendered to them.

142. Plaintiff`s belief in the furtherance thereof was objectively reasonable

143. Plaintiff was also justified in believing and relying on the Estate’s expressed
intentions to pay Plaintiff for all non~legal services provided to and in benefit for them.

144. Plaintiff rendered litigation support, paralegal, investigative and
administrative services to Defendant[s] Deleonardis, Brown and Whitlock

145. Defendants Deleonardis, Brown and Whitlock are contractually obligated to
23

 

 

Case 2:18-cv-O4775-|\/|SG Document 1 Filed 11/05/18 Page 28 of 44

pay Plaintiff the total charges remaining due of $311,250.00 over the course of four (4) years of
federal litigation support for two (2) high profile police homicides and two (2) federal appellate
reversals

146. Defendants Robert L. Jones and Bruce A. Jones are directly obligated to pay
Plaintiff the total charges of $1 5,000.00 for services provided to them at their request.

147. As a result of their failure to pay Plaintiff the amount due and owing,
Attorney Defendants are in breach of contract and have caused Plaintiff to suffer damages in
excess of at least $326,250.00, plus prejudgment interest, costs and attorney’s fees.

148. As a result of their failure to pay Plaintiff the amount due and owing, Robert
L. Jones and Bruce A. Jones are in breach of contract and have caused Plaintiff to suffer damages
in excess of at least $15,000.00 plus prejudgment interest, costs and attorney’s fees.

149. n After the Jones Estate received a One~l\/lillion ($l ,000,000.00) Dollar offer of
judgement plus payment for attorneys’ fees and litigation costs incurred during the case at bar
and two (2) federal appeals -- Defendants had a fiduciary duty to protect the financial interests of
Plaintiff and others who have not been paid for their work performed on the Jones Case.

150. All captioned Defendants breached their fiduciary duty to protect Plaintiff
and others who provided labor and services on the Jones Case when they each conferred and
agreed to not accept the Rule 68 Offer of Judgment.

151. Defendants rejection of the One~Million ($1,000,000.00) Dollar Rule 68
Offer was objectively not reasonable

152. Consumer Law and Brown F irm are essentially shell entities with no financial

assets and property for Plaintiff to levy or garnish.

24

Case 2:18-cv-O4775-|\/|SG Document 1 Filed 11/05/18 Page 29 of 44

153. Robert L Jones and Bruce A. Jones as personal representatives for the Estate
of Wayne A. Jones are essentially bankrupt with no means to pay for the litigation support,
paralegal and investigative services Plaintiff provided to Defendants Deleonardis and Brown.

l54. On information and belief, Defendants have sheltered their financial assets for
their own personal use and gain instead of paying for the extensive litigation support provided to
Defendants by Plaintiff and others who will most likely not be able to discover monies being
hidden concealed and/or converted, wired into secret bank accou:__i_t§___i_g New Yorl_g and/or have
already been converted while Plaintiff has patiently waited in good-faith for payment from
Defendants for the labor and litigation support services provided to Deleonardis, Brown,
Consumer Law, Brown Firm, Whitlock, R. Jones and B.Jones.

155. The above described actions of Defendants in intentionally impoverishing
themselves to the detriment of Plaintiff and/or converting monies received by Defendants for
personal use and gain and in failing to pay Plaintiff from those monies and/or Offers of
settlement subject Defendants to personal liability for the intentional impoverishment of monies
by Defendants and/or otherwise converted and/or failure to pay Plaintiff’s invoices and others.
Therefore, Defendants are personally obligated to pay and owe to Plaintiff the full total charges
due of $326,250.00, plus accrued interest, fees and charges

FOURTH CLAIM FOR RELIEF
“Breach of Implied in Fact Contract”
(Against Deleonardis, Brown, Consumer Law, PLLC and The Brown Firm, PLLC)

156. All allegations set forth above not inconsistent with the remaining allegations
of this Fourth Claim for Relief are hereby realleged and incorporated herein by reference as

if fully set forth herein.

25

 

Case 2:18-cv-O4775-|\/|SG Document 1 Filed 11/05/18 Page 30 of 44

157. Defendants Deleonardis and Defendant Brown are liable to Plaintiff for the litigation
support and paralegal services provided to them throughout the Jones Case from October 2014
through June 2018 as purchaser, or alternatively, in equity for the value of benefits bestowed on

the value of the litigation support and paralegal services had and received

FIFTH CLAIM FOR RELIEF
“Misrepresentation”
(Against Deleonardis, Brown, Whitlock Consumer Law, PLLC and The Brown Firm, PLLC)

158. All allegations set forth above not inconsistent with the remaining allegations
of this Fifth Claim for Relief are hereby realleged and incorporated herein by reference as if
fully set forth herein

159. Defendants misrepresented to Plaintiff that full and prompt payment would be
delivered within a reasonable time which Plaintiff relied thereon and provided litigation support
and paralegal services to Deleonardis, Brown and Whitlock and other services to the R.Jones and
B.Jones throughout the pendency of the Jones Case and Minifield Case.

SIXTH CLAIM FOR RELIEF
“Fraud in the Inducement”
(Against Deleonardis, Brown, Whitlock Consumer Law, PLLC and The Brown Firm, PLLC)

160. All allegations set forth above not inconsistent with the remaining allegations
of this Sixth Claim for Relief are hereby realleged and incorporated herein by reference as if
fully set forth herein.

161. Defendants’ misrepresentations and actions fraudulently induced Plaintiff to
deliver and/or perform continued litigation support, paralegal and investigative services, and
Plaintiff relied thereon and provided the litigation support, paralegal and investigative services in

the Jones Case and Minifield Case.

26

 

Case 2:18-cv-O4775-|\/|SG Document 1 Filed 11/05/18 Page 31 of 44

SEVENTH CLAIM FOR RELIEF
“Gauranty and Coobligor”

(Against Deleonardis, Brown, Whitlock, Consumer Law, PLLC and'”l`he Brown Firm, PLLC)

162. All allegations set forth above not inconsistent with the remaining allegations
of this Seventh Claim for Relief are hereby realleged and incorporated herein by reference as
if fully set forth herein.

163. Deleonardis, Brown and Whitlock assured Plaintiff they were personally
purchasing the services of and responsible for the promise to pay for Plaintiff’s labor and
litigation support and Defendants are liable to Plaintiff as a guarantor for Consumer Law, PLLC

and The Brown Firm, PLLC and The Law Offices of Deborah R. Whitlock, Esq.

EIGI-ITH CLAIM FOR RELIEF
“Disregard Professional I..imited Liability Company Entities”
(Against Deleonardis, Brown, Whitlock Consumer Law, PLLC and The Brown Firm, PLLC)

164. All allegations set forth above not inconsistent with the remaining allegations
of this Eighth Claim for Relief are hereby realleged and incorporated herein by reference as
if fully set forth herein.

165. Upon information and belief Defendants Brown owns and controls The Brown
Firm, PLLC, and the same is treated as an alter ego of Christopher E. Brown, or is thinly
capitalized, or the PLLC formalities are disregarded, and monies and or properties are transferred
by and among the The Brown Firm, PLLC and to Christopher E. Brown, such that the
professional limited liability company should be disregarded and judgment entered against
Christopher E. Brown for amounts due Plaintiff. lt is unfair and inequitable for Christopher E.
Brown to profit from the litigation support and paralegal services provided to him by Plaintiff,
and/or failure to pay Plaintiff.

166. Upon information and belief Defendants Deleonardis owns and controls Consumer
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Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 32 of 44

Law, PLLC, and the same is treated as an alter ego of Rocco J. Deleonardis, or is thinly
capitalized, or the professional limited liability company formalities are disregarded, and monies
and or properties are transferred by Consumer Law, PLLC to Rocco .l. Deleonardis, such that the
professional limited liability company should be disregarded and judgment entered against Rocco
J. Deleonardis for amounts due Plaintiff. lt is unfair and inequitable for Rocco J. Deleonardis to
profit from the litigation support and paralegal services provided to him by Plaintiff, and/or

failure to pay Plaintiff.

NINTH CLAIM FOR RELIEF
“Breach of Implied Covenant of Gooa' Faith and Fair Deah'ng”
(Against All Defendants)

l67. All allegations set forth above not inconsistent with the remaining allegations
of this Ninth Claim for Relief are hereby realleged and incorporated herein by reference as if
fully set forth again.

168. Defendants had a duty to not only consider all reasonable offers but reasonably
consider all outstanding debts incurred by Deleonardis, Brown, Consumer Law and Brown
Firm in the course of litigation

169. In addition, a term of the Agreernent, implied in fact, required R.Jones and
B.Jones to use reasonable efforts, considerations and rely on reasonable legal advice of
counsel to accept a bona~fide offer in the event one was made by City of Martinsburg
Defendants to the Estate.

170. The Administrators relied on factors that were objectively not reasonable to justify
the rejection cfa wrongful death offer to settle and Attorney defendants allowed them to do it.

l7i. The Administrators sent Plaintiff an entail stating they rejected the offer because

28

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 33 of 44

One~Million Dollars ($1,000,000.00) Dollars was not enough to get the “cops” who killed their
brother fired and/or arrested

172. Wrongful death case settlements or awards are not for the purpose of “getting
cops” fired or arrested. lndeed, Wrongful Death settlements are for the purpose of compensating
the statutory beneficiaries for the loss of a loved one who died wrongfully as a result of conduct
committed by another.

173. Defendants violated an implied covenant of good faith and fair dealing arising
from the Agreement between Plaintiff and Defendant Deleonardis, Brown, Consumer Law,
PLLC and The Brown Firm, PLLC, by reason of their failure to accept a reasonable and fair
settlement offer which provided for statutory compensation for the loss of their brother and
fulfilled their fiduciary duties to pay all the litigation bills for the Estate.

174. As a result thereof, Plaintiff is entitled to judgment against all Defendants for
actual damages, in an amount to be established at trial, for breach of the contracts implied
covenant of good faith and fair dealing.

'I`ENTH CLAIM FOR RELIEF
“Breach ofFiduciary Dmf}) and Aiding and Abetting Breach of Fiduciary Duty ”

(Agai'nst Deleonardis, Brown, B.Jones, R.Jon‘es,
Consumer La'w, PLLC, The Brown Fz`rm, PLLC.)

l75. All allegations set forth above not inconsistent with the remaining allegations of

this Tenth Claim for Relief are hereby realleged and incorporated herein by reference as if fully

set forth herein.

l76. Plaintiff placed confidence and trust in Defendants with their full knowledge that

Plaintiff would forbear billing and payment on work performed in full expectation that Defendants

would not reject and/or deny a reasonable Offer of Judgement by City Defendants in the event of a

29

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 34 of 44

settlement in the Jones Case.

177. Defendants Deleonardis, Brown, Consumer Law, PLLC, The Brown Firm, PLLC,
R.Jones and B.Jones enjoy full control over the decision making power over the legal and equitable
decisions pertaining to the Jones Case lawsuit including legal dccisions, cost decisions and whether
to continue to litigate cr settle the lawsuit

178. By utilizing the Services of Plaintiff, Defendants exploited, inter alia, Plaintiffs good-
faith efforts to provide litigation support including utilizations of Plaintift"s legal tools and law
subscriptions, generation of legal work product, legal analysis of complex issues and problems, legal
research, legal writing and appellate research, writing and litigation Support as well as various legal
and/or administrative tasks including docket management, Pacer download costs, mailing and
postage costs and substantial travel expenses without any remuneration

179. Defendants are duty bound to operate in the utmost of good-faith for the benefits of
those that provided litigation support, services and resources to the Jones Case which was the direct
and proximate cause and/or contributed to the l\/lay 2018 -- Rule 68 Offer of Judgment for One»
Million ($l ,000,000.00) Dollars plus agreeing to pay all legal fees and costs incurredl

180. Defendants took advantage of Plaintiffs trust without knowledge or consent when they
failed to consider the outstanding invoice balances and/or promptly remit payment for Plaintiff s
labor and services which Defendants directly benefited from.

lBl. Defendants took advantage of Plaintiffs trust without his knowledge or consent when
they withheld the existence of a Rule 68 Offer of Judgment from Plaintiff whom only discovered it
through other inadvertent means.

182. Defendants took advantage of Plaintiffs trust without his knowledge or consent when

30

 

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 35 of 44

they rejected and/or denied the May 2018 -- Rule 68 Offer.

183. Defendants Deleonardis, Brown, Consumer Law, PLLC and The Brown Firm, PLLC
took advantage of Plaintiffs trust (i.e., by placing the burden on Plaintiff to collect payment from the
attorneys’ clients) without knowledge or consent when Attorney Defendants were in total control of
litigation decisions They willingly assumed the absurdly high risk of the Jones Case being
dismissed with prejudice based on qualified immunity and/or summary judgment after the May 2018
»- Rule 68 Offer was rejected by the Administrators of the Estate of Wayne A. Jones.

l84. Defendants R.Jones and B.Jones took advantage of Plaintiffs trust without knowledge
or consent when they assumed the position that they intended to reject and, indeed, did reject/deny
the Rule 68 offer to settle because “it was not enough money to get the police officers fired and
thrown in jail for shooting and killing Wayne A. lones”.

l85. At all related times herein, Defendants had an obligation to act in the best interest
of Plaintiff.

l86. As such, Defendants owed and still owes to Plaintiff a fiduciary duty and duty of
loyalty not to engage in high risk decisions and not to turn a blind eye to a objectively
reasonable Rule 68 »- Offer to settle all debts which would otherwise be contrary to the interests
of Plaintiff and others who have provided thousands of hours of pain staking legal work and are
owed money by Defendants Deleonardis, Brown, Consumer Law, PLLC, The Brown Firm,
PLLC or alternatively R.Jones and B.Jones.

l87. Defendants continue to engage in this absurdity and high risk decision making
conduct and activities described herein, which threatens to violate and has violated

intentionally, materially and directly, the fiduciary and common law duties which

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Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 36 of 44

Defendants owed and still owes to Plaintiff.

188. Defendants Deleonardis, Brown, Consumer Law, PLLC, The Brown Firm, PLLC
have knowingly aided and abetted R.Jones and B.Jones in said violations of their fiduciary and
common law duties, which Defendants owed and still owes to Plaintiff.

189. By reason of the foregoing, Plaintiff will sustain or has sustained significant
injury and damage and is entitled to recover judgment against Defendants for same in an
amount to be established at trial.

ELEVENTH CLAIM FOR RELIEF
“Unjust Enrichment”
(Against Deleonardis, Brown, Whitlock, Consumer Law, PLLC,
The Brown Fl`rm, PLLC, R.Jones and B.Jones)

190. All allegations set forth above not inconsistent with the remaining allegations
of this Eleventh Claim for Relief are hereby realleged and incorporated herein by reference
as if fully set forth herein.

191. Defendants have acquired and Will acquire revenues, profits and
competitive advantage, and other benefits from Plaintiff’s litigation, paralegal and
investigative services under circumstances in which it would work a substantial injustice
and unjustly enrich them were they permitted to retain any or all of a reasonable
settlement or award of damages

192. As a result thereof, Plaintiff is entitled to judgment against Defendants for
actual damages, in an amount to be established at trial, for unjust enrichment

TWELV'I`H CLAIM FOR RELIEF
“Torlio us Interferen ce ”
(Against Brown and Whitlock)

l93. All allegations set forth above not inconsistent with the remaining allegations

32

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 37 of 44

of this Twelvth Claim for Relief are hereby realleged and incorporated herein by reference as
if fully Set forth herein.

194. At all relevant times, Brown knew Plaintiff was working under the direction of
Whitlock on the Minifield Case.

195. At ali relevant times, Whitlock knew Plaintiff previously worked under the
direction and oversight of Brown in the Jones Case.

1.96. Whitlock also knew Brown and Deleonardis owed Plaintiff for completed
work and litigation support and other work performed by Plaintiff at Brown’s request and
direct supervision

197. Prior to making her appearance in April 2018, Defendant Whitlock did not know
Defendant Brown.

198. Whitlock was introduced to Brown through Plaintiff while assisting Whitlock on

the Minifield Case.

199. Upon information and belief, Defendants contrived a deal to negotiate
Plaintiff’s billing invoices for a reduced One-llundred Thousand ($100,000.00) Dollars
which were previously submitted in the Jones Case for the purpose of erasing all of his
litigation support on l\/Iinifield from 2016 through 2018.

200. Defendants agreed and confederated to smear Plaintiff and disingenuously
ascribe all failure and fault in the l\/linifield Case toward Plaintiff which was untruthful and
patently false.

201. Defendants besmirched Plaintiff to other attorney clients of Plaintiff who utilize

his litigation support and paralegal services in the Commonwealth of Virginia and federal district

33

 

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 38 of 44

courts throughout the country.

202. Defendants made demonstrably false statements and characterizations about
Plaintiff which was purposed to impugn his integrity, reliability, qualifications and general stock
in his paralegal services

203. Defendant Whitlock and Brown’s acts and omissions were pretextually in the
furtherance of manufacturing reasons why they would not have to pay Plaintiff for his labor
and services provided to each of them previously and why they would not be responsible for
their own conduct

204. Defendant Whitlock and Brown, intentionally and without justification,
induced Plaintiff to terminate his contractual and/or employment relationship with them by
spreading false allegations about Plaintiff’s involvement in the Minifield Case such as --
Plaintiff was allegedly committing unauthorized practice of law.

205. l\/lore specifically, Attorney Defendants caused their own clients to (i) breach
their fiduciary obligation inherent by inducing Plaintiff to demand payment from the
administrators instead of from those who directly and proximately benefited from Plaintiff’s
litigation support and paralegal services provided to them including Whitlock, Brown,
Deleonardis, Consumer Law, PLLC and The Brown Firm, PLLC.

206. Defendants used improper means and methods in carrying out their
intentional interference, including violation of Defendants' covenant of good faith and
fair dealing owed to Plaintiff and also by inducing and/or aiding and abetting each other
to violate their fiduciary duty to Plaintiff in protecting Plaintiff from being abused and
not paid for the litigation support which Was provided in good faith to the Attorney

34

 

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 39 of 44

Defendants But for this intentional and fraudulent inducement by Attorney Defendant,
Plaintiff would have been paid for his labor and litigation support provided on the J ones
Case and Minifield Case.

207.As a result of Defendants intentional and tortious interference, Plaintiff has
suffered and continues to suffer damages in the form of lost income and profits and other
damages which would not have incurred but for the tortious conduct of Defendants, together

with punitive damages, in a sum to be established at trial.

THIRTEENTH CLAIM FOR RELIEF
“I)efamation”
(Agar'nst Brown and Whitlock)

208. All allegations set forth above not inconsistent with the remaining allegations
of this Thirteenth Claim for Relief are hereby realleged and incorporated herein by reference
as if fully set forth herein.

209. Defendants have defamed Plainitff by contacting Plaintiff" s friends, colleges
and peers and telling them that Plaintiff’s litigation support and paralegal services caused the
l\/Iinifield Case and/or Complaint to be dismissed and that it was Plaintiff’s fault the posture
ofthe case deviated away from the normal course of litigation which was not truth and false.

2l 0. Defendants‘ false and defamatory statements were published to third
parties, with fault and without privilege, and such statements have damaged Plaintiff"s
reputation by lowering it in the estimation of third parties and deterring third party law
firms and attorneys from associating or dealing with him.

21 l. As a result of Defendants' defamatory statements, Plaintiff has suffered and

continues to suffer damages in the form of lost income and profits and other damages that it

35

 

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 40 of 44

would not have incurred but for the wrongful conduct of Defendants, in a sum to be

established at trial.
FOURTEENTH CLAIM FOR RELIEF

“Civil Conspiracy”
(Agaz`nst Deleonardis, Brown, Whitlock)

212. All allegations set forth above not inconsistent with the remaining allegations
of this Fourteenth Claim for Relief are hereby realleged and incorporated herein by reference
as if fully set forth herein.

213. Defendants intentional tortious interference in Plaintiff`s business
expectancy and billing and the other misconduct described above and throughout were
the natural and probable consequences of a conspiracy between Defendants Brown,
Whitlocl<, Deleonardis and others who carried this out for the purpose of injuring
Plaintiff by causing him to be shed in bad light and demonized, and not paid for his
labor and hard work provided to Attorney Defendants in good-faith.

214. This conspiracy encompassed the combining of Defendants to do an unlawful
act to the detriment of Plaintiff, or to do a lawful act in an unlawful manner to the detriment
of Plaintiff, which conduct caused the Plaintiff to suffer special damage

215. As a result of Defendants' conspiracy to injure Plaintiff, Plaintiff suffered
special and considerable damages, including lost income and profits and other damages,
which would not have been incurred by Plaintiff but for the conspiracy between Judl{ins,
Brown, Whitlock, Deleonardis, Consumer Law and Brown Firm together with punitive

damages, in a sum to be established at trial.

36

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 41 of 44

FIFTEEN'I`H CLAIM FOR RELIEF
Preliminary and Permanent Injunctz've Relief
(Against All Defendant)

216. All allegations set forth above not inconsistent with the remaining allegations
of this Fifteenth Claim for Relief are hereby realleged and incorporated herein by reference
as if fully set forth herein.

217. By reason of the foregoing, Plaintiff has sustained and will sustain significant
injury and competitive disadvantage for which he has no adequate remedy at law and which
would result in irreparable harm to the Plaintiff were Defendants not enjoined, preliminarily
and permanently

218. As a result of the foregoing, Plaintiff is entitled to an order and judgment,
preliminarily and permanently, prohibiting Defendants from converting, concealing and/or
hiding financial instruments and assets from Plaintiff, and/or otherwise, including without
limitation requiring Defendants to “immediately” demonstrate why R.Jones and B.Jones
should not be removed as Administrators of the Estate of Wayne A. Jones for good cause;
and demonstrate why Defendants Deleonardis, Brown, Whitlock, Consumer Law, PLLC and
The Brown Firm, PLLC, jointly and/or severely, should not be directed to place Three-
Hundred Fifty Thousand ($350,000.00) Dollars in trust and/or escrow with this Court;
and/or demonstrate why the co-administrators in the Jones Case should not be required by
this Court to certify they are bonded for a minimum of "i`wo~Hundred Thousand

($200,000.00) Dollars to cover the previous costs of litigation and in the furtherance thereof.

37

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 42 of 44

SIXTEENTH CLAIM FOR RELIEF
Negligence
(Against Christopher E. Brown)

219.- All allegations set forth above not inconsistent with the remaining allegations
of this Fifteenth Claim for Relief are hereby realleged and incorporated herein by reference
as if fully set forth herein.

220. Attorney Brown has a special and professional obligation to protect the Estate of
Wayne A. J ones from unduly risk of financial loss.

221. Attorney Brown has a special and professional obligation to protect the venders
and contractors who provided litigation support services to the Estate of Wayne A. Jones and
knowingly had not received payment for services provided.

222. After the Rule 68 - Offer of Judgement was made to the Estate of Wayne A.
Jones, Attorney Brown had a special and professional obligation to determine whether R.Jones
and B.Jones were competent to make a legal decision on whether they should and/or could reject
a One~Million ($l,OO0,000.00) Dollar offer to settle all claims relating to the death of their
brother (i.e., Wayne A. Jones).

223. Attorney Brown breached his special and professional obligation when he directed
Plaintiff to try to explain the legalities of excepting and/or rejecting the Rule 68 ~»- Officer of
Judgment to R.Jcnes and/or B.Jones as a prerequisite for Plaintiff to obtain payment

224. Attorney Brown breached his professional obligation when he failed to explain
and discuss the likely pitfalls of qualified immunity to his client and the likelihood of dismissal
With prejudice based thereon

225. On September 7, 2018, the Honorable Judge Gina M. Groh dismissed the Jones

33

 

 

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 43 of 44

Case for the third time with prejudice --- and the first time based on qualified immunity grounds.

226. Plaintiff is a third»party beneficiary to the Rule 68 - Offer of Judgment previously
and unreasonably rejected by the Co~Administratcrs.

227. Attorney Brown also breached his special and professional obligation by not
challenging the Co-Administrators competence; by not ensuring the Co-Administratcrs
possessed adequate surety and/or were bonded to administer the Estate of Wayne A. J ones to the
extent it could adequately pay for the costs and services procured in the course of litigation

228. Attorney Brown also breached his special and professional obligation to protect
the Estate and the third-party vendors by failing to institute administrator removal proceedings
after he was forwarded entails from the Adrninistratcrs that stated they “rejected” the One-
Million ($1,000,000.00) Dollar offer because they did not feel it was enough to get the “cops”
fired and put in jail. (paraphrased)

229. Alternatively, but for Attorney Brown’s breach of his special and professional
obligations to Plaintiff and the Estate, a judgment offer would have been available to pay the
costs of litigation but as it stands the case is dismissed with prejudice for the third time and will
most likely not be remanded a third time.

230. Hence, Attorney Brown’s willful, wanton and reckless conduct, and/or negligent
conduct proximately caused Plaintiff’s injuries describe herein and throughout the complaint.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays the Court for an order and judgment:

l. Judgment in the amount of $350,000.00 actual damages, jointly and severely,

against all defendants',

39

 

Case 2:18-cV-O4775-I\/|SG Document 1 Filed 11/05/18 Page 44 of 44

2. Judgment in the amount of $350,000.00 punitive damages, jointly and severely,
against ali defendants;

3. Preliminarily and permanently, enjoin Defendants from rejecting‘reasonable
offers of settlement in the Jones Case;

4. Preliminarily and permanently whether the co~adrninistrators Robert L. Jones
and Bruce A. Jones possess the required competence to administer the Estate of Wayne A.
Jones for the purposes of litigation;

5. Alternatively, Order Robert L. Jones and Bruce A. Jones to certify and
demonstrate the necessary surety bond to protect all vendors for their services and invoices
and all litigation costs to be determined by the Court.

6. Preliminarily and permanently, enjoin Deleonardis, Brown and Whitlock
from making malicious, false and erroneous statements in public that Plaintiff is signing and
filing legal pleadings on behalf of clients in the Jones Case and Minifield Case and

representing any clients.

7. Plaintiffs attorneys' fees and costs of this action;
8. That all issues of act in this matter be determined by a jury', and
. 9. For such other and further relief as the Court deems ju and proper.

By= wm . s `,
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